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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


BRETT T. HYMAN,                                         CIVIL CASE NO.
     Plaintiff,

VS.

CITY OF BRIDGEPORT
      Defendant.                                        JANUARY 8, 2019

                                     COMPLAINT

  I. PRELIMINARY STATEMENT

      1.   This action seeks declaratory, injunctive and equitable relief; compensatory

           damages; and costs and attorney fees for the deprivation ofthe rights guaranteed to

           the plaintiff pursuant to the provisions of the Rehabilitation Act of 1973, as

           amended, Title 29 U.S.C. §§ 791 and 794, in which the plaintiff claims that the

           defendant discriminated against him on account ofhis disability when the defendant

           refused to allow him to return to work as a Lieutenant on the Bridgeport Police

           Department solely due to his disability.




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  II. JURISDICTION

     2.    This action arises under the provisions ofthe Rehabilitation Act, Title 29 U.S.C. §§

           791 and 794.

     3.    Jurisdiction is invoked pursuant to Title 28 U.S.C. §1331 and Title 28 U.S.C.

           §1343(4).

     4.    Declaratory, injunctive and equitable relief is sought pursuant to Title 28 U.S.C.

           §2201 and Title 28 U.S.C. §2202.

     5.    Attorney fees and costs are sought pursuant to Title 29 USC § 794a.


  III. VENUE

     6.    This action properly lies in the United States District Coiu~t for the District of

           Connecticut pursuant to Title 28 U.S.C. §1391(b).

  IV. PARTIES

     7.    The plaintiff, Brett T. Hyman,is a citizen and resident ofthe United States residing

           in Oxford, Connecticut.

     8.    The defendant, City of Bridgeport ("Bridgeport"), is a municipal corporation

           organized and existing under the laws of the State of Connecticut of which it is a

           political subdivision.
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     9.      Title 29 U.S.C. § 794 provides,in relevant part,"[n]o otherwise qualified individual

             with a disability in the United States, as defined in section 7(20) [29 USCS §

             705(20)], shall, solely by reason of his or her disability, be excluded from the

             participation in, be denied the benefits of, or be subjected to discrimination under

             any program or activity receiving Federal financial assistance..."

     10.   The defendant, including its police department, is the recipient of Federal financial

           assistance.

     11.   Title 29 U.S.C. § 794 further provides, in relevant part, "[f]or the purposes of this

           section, the term "program or activity" means all of the operations of--(1)(A) a

           department, agency, special purpose district, or other instrumentality of a State or

           of a local government."

  V. FACTS

     12.     The plaintiff has been employed by the defendant since July 8, 1996, as a police

           officer.

     13.   Since 1996, the plaintiff has advanced in the ranks of the Bridgeport Police

           Department, being first promoted to the position of Sergeant, and then to

           Lieutenant, his current rank.

     14.   The defendant is an employer.




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     15.   The defendant is the recipient of federal funds.

     16.   The plaintiff is an individual with a disability as that term is defined under the

           provisions of the Rehabilitation Act in that he suffers from physical impairments

           which substantially limit one or more of his major life activities, including eating;

           and one or more of his bodily functions, including the functioning of his digestive

           and neurological systems.

     17.   The plaintiff is an individual with a disability under the Rehabilitation Act in that

           he has a record of impairments which substantially limit one or more of his major

           life activities.

     18.   The plaintiff is an individual with a disability under the Rehabilitation Act in that

           the defendant regards him as having impairments which substantially limit one or

           more of his major life activities.

     19.   The plaintiff is fully qualified to perform the duties, responsibilities, and functions

           of the position of police lieutenant, without the need for an accommodation.

     20.   The defendant has refused to allow the plaintiff to return to his employment as a

           police lieutenant solely on account of his physical disability, chronic Lyme disease

           and the continuing effects resulting from his treatment for chronic Lyme disease.
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     21.   The authorized officials of the defendant, in particular it's Chief of Police, who

           refused the plaintiff's request to return to work as a police lieutenant, are fully

           aware ofthe plaintiff's disability.

     22.   In 2003, the plaintiff contracted a severe case of Lyme disease.

     23.   Untreated chronic Lyme disease results in debilitating fatigue, muscle and joint

           pain, headaches, mental fog causing difficulty with memory or finding words,

           irritability, and sleeplessness.

     24.   In 2006-2007, because of his continuing affliction with Lyme disease, the plaintiff

           was unable to work for approximately 11 months during which time a peripherally

           inserted central catheter (PICC) was inserted in the plaintiff for the administration

           of potent medications to combat the Lyme disease.

     25.   Two years later, the plaintiff was again out of work for approximately five months

           as a result of the recurrence of the Lyme disease requiring once more the insertion

           of a PICC for the administration of the Lyme disease medications.

     26.   Since being afflicted with Lyme disease, the plaintiff has been out of work

           numerous times for weeks at a time with small reoccurring bouts of Lyme disease

           and still takes medication to treat the disease.




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     27.   As an integral component ofthe plaintiff's medical treatment for Lyme disease, the

           plaintiff's physician, Dr. Gary Blick, prescribed the plaintiff the FDA approved

           medication, Marinol, commencing in 2003, to counteract the side effects of the

           plaintiff's Lyme disease treatment, loss of appetite, bordering on anorexia, and

           Irritable Bowel Syndrome.

     28.   Dronabinol is the active ingredient Marinol, and has been assigned to schedule I

           under the Controlled Substance Act of 1970("CSA")

     29.   The Drug Enforcement Act ("DEA") implements the CSA and may prosecute

           violators ofthese laws at both the domestic and international level. Within the CSA

           there are five schedules at the federal level (I-V) that are used to classify drugs

           based upon their:(1)abuse potential;(2)accepted medical applications in the U.S.;

           and (3) safety and potential for addiction.

     30.   Dronabinol remains in schedule I, with one notable exception; the Food and Drug

           Administration ("FDA"), after extensive testing and research, approved the drug

           Marinol-described as"[d]ronabinol (synthetic) in sesame oil and encapsulated in a

           soft gelatin capsule."

     31.   Marinol is listed in Schedule III of the CSA, and is an approved FDA medication

           for the conditions from which the plaintiff suffers.




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     32.   Insurance coverage to pay for the cost ofthe plaintiff's use ofthe Marinol has been

           provided by the defendant, without issue, since 2003.

     33.   The defendant is self-insured, and has been paying directly for the plaintiff's use of

           Marinol since it was first prescribed to him as a component ofhis medical treatment

           for Lyme disease.

     34.   When the City of Bridgeport implemented random drug screening for members of

           the police department, the plaintiff once again disclosed his use of Marinol to the

           defendant because of the possibility of a mistaken positive result indicating use of

           marijuana.

     35.   The plaintiff takes the Marinol once a day at approximately 11:00 p.m. and it does

           not interfere with his ability to perform the essential functions of hisjob as a police

           lieutenant on the Bridgeport Police Department.

     36.   The defendant's medical review officer, Dr. Ronald T. Suski, M.D., has confirmed

           to the defendant that Marinol contains a single synthetic molecule reflective of

           properties found in marijuana; that the single molecule will not impede the plaintiff

           from performing his duties assigned to him as a police officer; that under this

           medication, side effects commonly associated with marijuana use such as euphoria

           or paranoia are not found to take place; and that the FDA approved drug allows the




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           plaintiff to overcome medical issues attributed to his previous bouts of Lyme

           disease.

     37.   Since the defendant implemented its drug screening of police officers, the plaintiff

           has tested positive for marijuana use, even though he had not used marijuana.

     38.   Over the last five years, the plaintiff has tested positive to tetrahydrocannabinol

           (THC)Metabolite four times.

     39.   Since Marinol is a pure isomer of THC, meaning there are no other potentially

           harmful chemicals like those found in marijuana.

     40.   Because of his treatment with Marinol, the plaintiff's blood screens revealed the

           presence of THC resulting in false positives for the use of marijuana.

     41.   On these occasions when there were false positive reports that the plaintiff had used

           marijuana, the defendant's medical review officer would "negate" the positive

           results.

     42.   The defendant placed the plaintiff on administrative leave with pay on August 27,

           2018, when the testing laboratory employed by the defendant to conduct drug

           screens on its police officers erroneously reported to the defendant that the plaintiff

           had tested positive for marijuana.




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     43.   The testing laboratory issued a corrected report at the request of the defendant's

           medical review officer stating that the plaintiff had tested negative for marijuana.

           Exhibit 5.

     44.   The defendant, without proofofany kind, and despite incontestable evidence to the

           contrary including the statements of its medical review officer, and the conclusive

           report of Captain Douglas M.Stolze, Exhibit 1, claims that the plaintiffimproperly

           used medical marijuana in violation of the policies of the Bridgeport Police

           Department. Exhibit 2, and Exhibit 3.

     45.   As stated by the plaintiff's treating physician, "DRONABINOL IS NOT

           MARIJUANA."(Emphasis in the original). Exhibit 4.

     46.   Despite repeated requests that he be allowed to return to work, the defendant has

           refused, without legitimate reasons, the plaintiff's repeated requests.

     47.   The defendant continues to bar the plaintiff from returning to work instead

           threatening him with disciplinary action solely because ofthe plaintiff's disability.

     48.   The plaintiff remains out of work with pay but being deprived by the defendant of

           substantial overtime opportunities, and shift differential pay that he would have

           received working the evening shift hours.




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      49.       By the actions of the defendant in unjustly placing the plaintiff on administrative

                leave with pay, the defendant has harmed the plaintiff's honorable reputation as a

                highly respectable police officer, and senior shift commander.

      50.      Because ofthe defendant's actions, the plaintiff has suffered economic losses.

      51.      Because ofthe defendant's actions, the plaintiff has suffered emotional distress.

VI.   FIRST CAUSE OF ACTION (Violation of the Rehabilitation Act —Suspension from
      Employment with Pay)

            52-102.The plaintiff incorporates as if re-alleged paragraphs 1 through 51.

      103.     The plaintiff is a qualified individual with a disability within the meaning ofthe

               Rehabilitation Act, Title 29 U.S.C. § 794(a), in that the plaintiff is an individual

               with a disability who is capable of performing the essential functions ofthe

               position of police lieutenant in the employ of the defendant.

      104.     The defendant has barred the plaintiff from returning to his employment as a

               police lieutenant because ofthe FDA approved medication prescribed to treat the

               plaintiff's physical disability.

      105.     Preventing the plaintiff from returning to work because of medication used by the

               plaintiff to treat his physical disability is a discriminatory act prohibited by the

               Rehabilitation Act, Title 29 U.S.C. § 794.




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      106.   As a result of his physical impairment, the plaintiff is restricted in the major life

             activity of eating, and in the major bodily functions of his digestive system and

             neurological system.

      107.   The defendant was fully aware that the plaintiff suffered from a physical

             disability; he was on medical leave for an extended period starting in 2006 for

             eleven months, and another five months two years later as a result ofthe effects of

             the Lyme disease which he had contracted in 2003; his prescriptive medications

             were approved and paid by the defendant; and its medical review officer had

             reviewed and corrected various false positives for marijuana use because of the

             Marinol he was taking to treat his condition.

      108.   During his employment with the defendant, the plaintiff has been an otherwise

             qualified individual with a disability within the meaning of the Rehabilitation Act.

      109.   The plaintiff suffers from physical impairment to his neurological and digestive

             systems.

      110.   Although the plaintiff's condition impacts on his major bodily functions,

             including his digestive and neurological systems, the plaintiff is able to perform

             the essential functions of his job as a police lieutenant without the need for an

             accommodation.




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      111.   The defendant discriminated against the plaintiff with malice and with a reckless

             indifference to the federally protected rights guaranteed to the plaintiff under the

             provisions of the Rehabilitation Act.

      112.   The defendant's refusal to allow the plaintiff to return to his employment as a

             police lieutenant on account of his physical disability has caused, continues to

             cause and will cause the plaintiff to suffer substantial damages for future

             pecuniary losses, mental anguish, loss of enjoyment of life and other non-

             pecuniary losses.

      113.   The defendant's refusal to allow the plaintiff to return to his employment as a

             police lieutenant on account of his physical disability has caused, continues to

             cause and will cause plaintiff irreparable harm through his loss of such gainful

             employment.

      114.   The defendant refused to allow the plaintiff to return to his employment as a

             police lieutenant because it regarded the plaintiff as being disabled.

      115.   The defendant refused to allow the plaintiff to return to his employment as a

             police lieutenant because the plaintiff had a record of a disability.




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      116.   There does not exist a legitimate, non-discriminatory reason that justified the

             defendant's refusal to allow the plaintiff to return to his employment as a police

             lieutenant.

      117.   By refusing to allow the plaintiff to return to his employment as a police

             lieutenant because of his disability, his record of disability and/or because it

             regarded the plaintiff as being disabled constitute violations ofthe Rehabilitation

             Act, causing the plaintiff to suffer emotional distress.

      118.   The defendant was fully aware ofthe plaintiff's record of disability.

      119.   The defendant regarded the plaintiff as suffering from disabling physical

             impairments.

      120.   The defendant violated the provisions ofthe Rehabilitation Act by refusing to

             allow the plaintiff to his employment as a police lieutenant because of his

             physical impairments.

      121.   The defendant has discriminated against the plaintiff on the basis of his

             physical impairments.

      122.   The defendant's actions in refusing to allow the plaintiff to return to work, violate

             the provisions of the Rehabilitation Act.




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VII. PRAYER FOR RELIEF

WHEREFORE,THE PLAINTIFF PRAYS THAT THIS COURT:

      a. declare the conduct engaged by the defendant to be a violation of the plaintiffs rights

         guaranteed to him by the Rehabilitation Act;

      b. enjoin the defendant from engaging in such conduct;

      c. award the plaintiff equitable relief in the form of back salary and fringe benefits from

         August 27, 2018, plus interest as allowed by law until paid in full, together with front

         salary and benefits accrual;

     d. reinstate the plaintiff to the position of police lieutenant;

     e. award the plaintiff compensatory damages;

     f. award the plaintiff costs and attorney fees; and

     g. grant such other and further relief as the Court may deem just and proper.




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VIII. JURY DEMAND

         THE PLAINTIFF REQUESTS A TRIAL BY JURY.



                             THE PLAINTIFF — BRETT T. HYMAN


                             BY /s/ Thomas W.Bucci
                              Thomas W.Bucci
                              Fed. Bar #ct07805
                              WILLINGER, WILLINGER & BUCCI,P.C.
                              855 Main Street
                              Bridgeport, CT 06604
                              Tel:(203)366-3939
                              Fax:(203) 337-4588
                              Email: thomaswbucci@outlook.com




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 From:                                  Thomas W. Bucci <thomaswbucci@outlook.com>
 Sent:                                  Tuesday, December 18, 2018 3:22 PM
 To:                                    Quintiliano, Jeanine
 Subject:                               Hyman



 To:     Chief Armando Perez

 From: Captain Douglas M. Stolze

 Re:     Lieutenant Brett Hyman Administrative Status

Date: November 20, 2018


Sir,

         As you requested I investigated this matter to better help clarify the situation presented to you in this matter
         reflective of a positive drug screen test performed on Lieutenant Brett Hyman on August 21, 2018.

        Please see attached for your review documentation to assist in your review most importantly
        documentation from Lt. Brett Hyman's primary physician. About the following is related:

* Lieutenant Brett Hyman has been taking an FDA approved drug for several years for a medical condition he has experienced in the
past.

* The drug being FDA approved is not reflective of medical marijuana use classified as a schedule 1 drug.

* Lt. Brett Hyman disclosed his use of this prescription to the city once the Cifiy of Bridgeport began to administer drug screening given
the chance he would probably
  return a positive result when tested.

* Thaf Lt. Brett Hyman has subsequently had previous positive results that have been negated by his primary care and the
administering physical of the program
  Dr. Suski based on this FDA approved medicine.

* I spoke with Dr. Suski as you suggested to clarify that the medication contains a single synthetic molecule reflective of properties
found in marijuana.

* That this single molecule will not impede Lieutenant Brett Hyman from performing his duties assigned to him as a police officer.

* That under this medication side effects commonly associated with marijuana use such as euphoria or paranoia are not found to take
place.

* The FDA approved drug allows Lieutenant Brett Nyman to overcome medical issues attributed to his bouts with Lyme Disease


Given these facts as well as the urging from Dr. Suski that the result taken should be considered negative reflective of this prescription,
 find no cause for administrative suspension
or grounds for discipline reflective of our policy regarding positive drug screening results for Lieutenant Brett Hyman.
                                                                                                                         Q PLAINTIFF'S
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i tFierefore recommend full reinstatement as soon as possible.

Signed Captain Douglas M. Stolze.

Thomas W. Bucci, Esq.
Partner
Willinger, Willinger & Bucci, P.C.
855 Main Street
Bridgeport, CT 06604
Phone: 203-366-3939
Facsimile: 203-337-4588
 ;mail:'1'13ucc~~c~wwbiaw.com

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NOTICE. Any tax advice contained in this email is not intended or written to be used, and cannot be used,for the purpose
of avoiding tax penalties or promoting, marketing or recommending any partnership or other entity, investment plan or
arrangement to one or more taxpayers.
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                                                  CITY OF B[ZiDGEPORT
                                      DEPARTyiEi~iT OF POi,ICE
                                                  300 CONGRESS STREET
                                             BRIDGEPORT, C0:~1'.~IECTICUT 06604
AR_4t.~,iYD~ J. PEREZ
    Chief of Police



      To:       Chief Armando J. Perez

      From:     Lieutenant Richard J. Azzarito

      Re.:      Lt. Brett Hyman's Failed Drug Test

      Date:     August 28, 2018




      Sir,

      The Bridgeport Police Department conducts random drug testing of all sworn employees in accordance
      with Policy and Procedure section 2.7.4. Part of this initiative is due to the safety sensitive nature of
      police work; the City has a compelling interest in eliminating the use of controlled substances from its
      workplace. It is the policy of the City of Bridgeport that the illegal use of a controlled substance or
      misuse of alcohol or prescribed drugs is strictly prohibited.

     Gregory and Howe lnc. of 2 Corporate Drive, Shelton, Ct. is the drug testing provider for the City of
     Bridgeport Police Department. At the beginning or' each month I report to their facility to pick up a
     seated list, which contains the names of sworn police employees, who have bzen randomly szlected for
     drug testing within that month. On August 1, 2018 I did report to Gregory and Howe and received the
     list for August 2018.

     After breaking down the list into specific commands and shifts, i scheduled testing for the afternoon of
     August 21, 2108 at 3:30 pm. I was testing C-shift patrol officers whose names appeared on the random
     list. Lt. Hyman's name was one of those names and he was advised to report to Community Services for
     testing. He stated he had a doctor's appointment later that shift and wasn't sure he would be able to
     make it. He was informed that he could stop on his way to the doctor's as I would be there with the
     tester by 3:00 pm. He was at Community Services waiting by the time I arrived a couple minutes past
     3:00 pm.

     Community Services, located at 1395 Sylvan Avenue, Bridgeport, Ct., is a mutually agreed upon testing
     site by both the police union and the City. After completing the administrative paperwork, Lt. Hyman
     selected a specimen container and tore off the foil top. He was instructed to empty the contents of this
     container into the gloved hand of the sample collector. Lt. Hyman then made his way into the restroom
    and provided a urine sample at 15:18 hours. As with all employees, I observed as Lt. Hyman handed his
    sample to the collector and in the presence of Lt. Hyman, the sample was transferred into two smaller
    containers and sealed. Lt. Hyman then ini~tiafed each container'to certify that the samples were his own
    and he was provided a copy of the testing custody and control form for MedTox.



                                                                                                            PLAINTIFF'S
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On August 27, 2018, I received an email from Adrianne Cina, the contact person for the drug testing
provider at Gregory and Howe, with "updated results for Srett Hyman." As it turns out, this was a
second email from Ms. Cina regarding test results from samples taken on August 21, 2018. The first
email contained Lt. Hyman's first test results from Dr. Suski, who is the medical review officer for
Gregory and Howe, which showed a "positive" result for Marijuana (THC) Metabolite. In the second
email,"updated results for Hyman" classified the results as negative since the employee had provided,
according to Ms. Cina, a prescription from a doctor. These results were provided by MedTox
Laboratories, Inc. of 402 West County Road, St. Paul, Minn. 651-636-7466.

Once I received the positive results for Lt. Hyman, I called Ms. Cina to have a second test done
immediately. She informed me as part of the company's standard operating procedures, they
automatically conduct a second test to either confirm or dispel the first test. In this case they were able
to confirm the first positive result with a second positive result. So the document with the "positive"
test result is in fact a confirmation of a second test.

Attached to this report you will find a copy of the memo issued by your office on November 23, 2016
regarding the prohibiting of the possession of medical marijuana cards as well as a copy of the drug
results released by Gregory and Howe.

Lt. Brett Hyman was hired as a police officer on July 8, 1996. He was promoted to lieutenant on
November 5, 2009 and is currently assigned to patrol on the C-shift.




                                                                  Respectfully submitted
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                                                                  Lt. Richard J. Azzarito
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                            Czty ofBridgeport
                            DEPARTMENT OF POLICE
                            OFFICE OF THE CHIEF
                            300 Congress Street •Bridgeport, Connecticut 06604 •Telephone (203)581-51I 1 •Fax (203) 576-8130


ARMANDO J. PEREZ
  Chief of Police
                                                                                              November 16, 2018

       Mr. Brett Hyman
       41 Coppermine Rd
       Oxford, Ct 06478

       Re: Notice of Loudermill


       Dear Mr. Hyman:

      This is to serve you notice of charges of misconduct against you based on findings an
      investigation established that in August,2018 you tested positive for Marijuana(THC)
      Metabolite as a result of a random drug screening in violation of2.7.4 ofthe Bridgeport Police
      Department's policies, procedure, rules and regulations. A copy ofthe investigation is attached
      and was made available to your union representative on or about November 6,2018.

      A Loudermill (pre-disciplinary hearing) has been scheduled for November 26 at 10:00 AM at the
      Office ofthe ChiefofPolice, Bridgeport Police Department, 300 Congress Street, Bridgeport,
      CT 06604. The purpose ofthis meeting is to give you an opportunity to respond to the
      aforementioned violation ofthe Bridgeport Police policies, procedures, rules and regulations.
      Please be advised that serious disciplinary action up to and including a thirty (30)day suspension
      without pay is being contemplated for the violations ofthe Bridgeport Police policy, procedures,
      rules and regulations.

      You have the right to union representation at this Loudernull. A waiver shall be required if you
      choose to appear without union representation. Should you decline this opportunity to provide
      new or mitigating information or fail to attend the Loudernull, the City will take appropriate
      action based on the evidence available to it.

      Sincerely,

                    __-~-
             ~F




      Chief Armando J. Perez



      cc: Janene Hawkins, Director ofthe Office ofLabor Relations
          Charles Paris, Union President


                                                                                                           PLAINTIFF'S
                                                                                                       ~     EXHIBIT


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                                       GARY BLICK, MD

 August 31,2018

 To the City of Bridgeport Attorney's Office:

It was just brought to my attention that my patient, Lt. Brett Hyman, was recently suspended from work
for testing positive for Marijuana.

 have been providing medical care to Lt. Hyman since 2003 for various medical conditions, including
Lyme disease, as I am Lt Hyman's Primary Care Practitioner. I have been prescribing an FDA-approved
medication for his appetite since 2004, known as dronabinol, aka Marinol, which is a synthetic THC
indicated to treat loss of appetite. DRONABINOL IS NOT MARIJUANA,a schedule 1FDA-designated
drug, but rather is a schedule III drug that has been FDA-approved for 33 years.

On two separate occasions in the past, I was contacted by the company that performs these toxicology
drug screens to confirm that I had indeed been prescribing dronabinol for Lt. Hyman for a specific FDA-
approved medical condition.

It has been my understanding that since at least 2013, there has been documentation filed with the
physician who performs the toxicology drug screens for the Department, and he has been fully aware .
that Lt. Hyman will always test positive for the drug dronabinol.

 am seriously concerned that a major violation of HIPAA has occurred, and that my patient's Personal
Health Information has been breached. It is also my understanding that Lt. Hyman should have been
contacted if he indeed test positive for a drug screen, and this did not occur which would have cleared
up any misunderstanding.

As a result of this serious violation, Lt. Hyman has suffered significant anxiety and insomnia about the
possibility that this will negatively impact his career as a Shift Commander who leads others. His
personal life has been significantly disrupted due to the unnecessary associated embarrassment and
humiliation, possibly beyond repair, especially if this situation is not immediately remedied.

Respectfully submitted,

             fi



Gary Blick MD




                  HEALTHCARE ADVOCATES INTERNATIONAL,LLC
                     A 501(c)(3) Tax-Exempt Humanitarian Initiative
                      3115 Main Street, Suite 2, Stratford, CT 06614                                 PLAINTIFF'S
                          Tel/Fax:(203)345-0404/(203)908-4110                                    ~     EXHIBIT
                                    FAIN: XX-XXXXXXX                                             a
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Ronald T. Suski, M.D.                                                    Phone: (203)925-8859
c/o Gregory &Howe                                                        FAX: (203)944-027
(nc. Two Corporate
Drive Suite 645
 Shelton, CT 06484

7ifle:   CHIEF
Name.    ARMANDO pEREZ
Company: CITY OF BRIDGEPORT POLICE DEF

          300 CONGRESS STREET
          SF21pGEPOR7     GT             06604
Specimens collected from the following em~foyee(s) have been tested by            MEDTOX Laboratory
the results and collections procedures reviewed in a manner consistent with regulations of the United States
bepartment of Transportation as outlined in 49 CFR 40, and are reported as follows:



     Loc. ONSiTE
       Name                            C&C Form #         SSA!                   Reason            Coil bate       Result

BRETT HYMAN                           236689431            XXX-XX-XXXX Random                      08/29/18          Neg.




                                                                           .....F. _...~.. f~,



                                                                         Ronald T. Suski, M.D.
                                                                         Medical Review Officer
                                                                         Adrianne Cina - MRO Assistant         ~
                                                                         Marsha George - MRO Assistant         ~ PLAINTIFF'S
                                                                                                               ~   EXHIBIT
                                                                                                               a
